       Case 8:05-cr-00481-SDM-E_J Document 415 Filed 12/11/06 Page 1 of 5 PageID 1185
A 0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case



                                 UNITED STATES DISTRICT COURT
                                                             MIDDLE DISTRICT OF FLORIDA
                                                                  TAMPA DIVISION



UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                                                      CASE NUMBER: 8:05-cr-481-T-23EA.J
                                                                      USM NUMBER: 48615-0 18
VS.



CI-IRISTLENE SIMONVIL
                                                                      Defendant's Attorney: Scott McCluskey, cja

THE DEFENDANT:

X pleaded guilty to count ONE of the Indictment.

TITLE & SECTION                           NATURE OF OFFENSE                            OFFENSE ENDED                    COUNT

18 U.S.C. 5 371                           Conspiracy to Commit Mail Fraud             January 6, 2003                    ONE


        The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

-
X Count FIVE is dismissed in accordance with the plea agreement.

IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                       Date of Imposition of Sentence: December 8, 2006




                                                                                                                                          w
                                                                                           STEVEN D. hlERRYDAY
                                                                                      UNITED STATES DISTRICT JUDGE

                                                                                      DATE: December      1 I K,2006
        Case 8:05-cr-00481-SDM-E_J Document 415 Filed 12/11/06 Page 2 of 5 PageID 1186
A 0 245B (Rev. 06/05)Sheet 4 - Probation (Judgment in a Criminal Case)

Defendant:           CHRISTLENE SIMONVIL                                                                     Judgment - Page 2 of 5
Case No. :           8:05-cr-481-T-23EAJ
                                                                         PROBATION

The defendant is hereby placed on probation for a term of THIRTY-SIX (36) MONTHS.

         While on supervised release, the defendant shall not co~nmitanother federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 5 921.

         The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Coun authorizes
random drug testing not to exceed 104 tests per year.

X
-          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
           substance abuse.

X
-          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

        If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer:

           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
           days of each month;

           the defendant shall answer truthfully all inquiries by the probation officer and follow the instruction of the probation officer;

           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
           other acceptable reasons:

           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute. or administer any
           controlled substance, or any paraphernalia related to any controlled substances, except as prescribed by a physician:

           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
           convicted of a felony, unless granted permission to do so by the probation officer;

           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
           of any contraband observed in plain view by the probation officer;

           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer;

           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
           the permission of the court; and
           as directed by thc probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or personal. history. or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance w ~ t hsuch not~ficationrequirement.
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A 0 245B (Rev 06/05)Sheet 4C - Probation (Judgment in a Criminal Case)

Defendant:           CHRISTLENE SIMONVIL                                                          Judgment - Page 3 of 5--
Case No. :           8:05-cr-481-T-23EAJ




                                             SPECIAL CONDITIONS OF SUPERVISION

The defendant shall also comply with the following additional conditions of probation:

-
X         The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, acquisitions or
          obligating herself for any major purchases without approval of the probation officer.

-
X         The defendant shall provide the probation officer access to any requested financial information.

X
-         If the defendant is deported, she shall not re-enter the United States without the express permission of the appropriate
          governmental authority, currently the United States Department of Homeland Security, or the United States Department of
          Justice.
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A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:           CHRISTLENE SIMONVIL                                                                Judgment - Page 4 of 5
Case No. :           8:05-cr-481-T-23EAJ


                                                 CRIMINAL MONETARY PENALTIES


           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                Assessmeilt                                Fine                             Total Restitution


           Totals:              $100.00                                    $ waived                         $6,480.00



           The determination of restitution is deferred until                   .    An Aineilded Judgnzent in a Crinzinal Case ( A 0 245C) will
           be entered after such determination.

           The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U. S.C. 5
           3664(i), all non-federal victims must be paid before the United States.



Name of Pavee                                        Total Loss*                     Restitution Ordered                   Priority or Percentage

Delta Casualty Insurance Company                                                     $ 6,480.00
Ofiice of the Special Deputy Receiver
222 Merchandise Mart Plaza, Suite 1450
Chicago, IL 60654
Attention: Bernie Basgall
Claim# 46 10

                                Totals:              c                               $ 6,480.00


 -          Restitution amount ordered pursuant to plea agreement $
 -          The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
            before the fifteenth day after the date of the judgment, ursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
            6 may be subject to penalties for delinquency and d e f h , pursuant to 18 U.S.C. 5 3612(g).
 -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           -          the interest requirement is waived for the - fine                    - restitution.

           -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, llOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1896.
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A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:            CHRISTLENE SIMONVIL                                                 Judgment - Page 5 of 5
Case No. :            8:05-cr-48 1-T-23EN


                                                          SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                      Lump sum payment of !$ 100.00 (special assessment) due immediately, balance due
                                 -not later than                         , Or

                                 -in accordance - C, - D, - E or - F below; or
                      Payment to begin immediately (may be combined with -C, -D, or -F below); or
                      Restitution payments to be made in equal monthly installments of $ 100.00;
                      Payment in equal                (e .g . , weekly, monthly, quarterly) installments of $               over a
                      period of
                                   , (e.g., months or years) to commence                        (e.g. 30 or 60 days) after release
                      from imprisonment to a term of supervision; or
                      Payment during the term of supervised release will commence within                          (e.g., 30 or
                      60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                      the defendant's ability to pay at that time, or
                      Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
X
-          Joint and Several
           Defendant - Christlene Simonvil (9), Case No. 8:05-cr-48 1-T-23EAJ; $6,480.00
           Co-defendant - Ireno Luis Delgado (I), Case No. 8:05-cr-48 1-T-23EAJ
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
-          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
